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17    (formerly known as Facebook, Inc.)
18

19                                UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA

21                                     SAN FRANCISCO DIVISION

22
                                                      Case No. 3:22-cv-03580-WHO-VKD
23   IN RE META PIXEL HEALTHCARE
     LITIGATION                                       JOINT STATEMENT IN RESPONSE TO
24                                                    DKT. 259
     ______________________________________           Judge: Hon. Virginia K. DeMarchi
25
     This Document Relates To:                        Action Filed: June 17, 2022
26
     All Actions
27

28


                                            JOINT STATEMENT
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1           1. Should the Court permit the parties to brief any remaining disputes about Meta’s
2    preservation of ESI as a regularly noticed motion under Civil L.R. 7, or can the disputes be
3
     addressed most efficiently using the Court’s expedited discovery dispute resolution procedure?
4
            Joint Statement
5
            The parties agree that: (1) there are no remaining disputes regarding Meta’s preservation that
6

7    are ripe for immediate judicial intervention; and (2) The parties will work together in good faith to (a)

8    resolve existing disputes regarding Meta’s preservation, and (b) reach agreement on whether any future

9    disputes regarding Meta’s preservation would be more appropriately addressed as a regularly noticed
10
     motion or via the Court’s expedited discovery dispute resolution procedure.
11
            Plaintiffs’ Additional Statement
12
            Plaintiffs identify two preservation issues impacted by this question. The first issue has already
13
     been briefed in Dkt. 247. Thus, a regularly noticed motion is not necessary. The second issue relates to
14

15   preservation of data acquired from Medical Web-Properties that Meta has not stated whether it is

16   preserving. However, this issue is not yet ripe. Plaintiffs remain hopeful that the parties can work this
17   out, including through production of the documents at issue in Dkt. 247. At the present time, Plaintiffs
18
     do not believe this issue would require a regularly noticed motion. If a preservation dispute is submitted
19
     using the Court’s expedited discovery dispute resolution procedure, it may be helpful to attach a limited
20
     number of exhibits, including correspondence between the parties.
21

22          Meta’s Additional Statement

23          After conferring with Plaintiffs’ counsel, Meta agrees that it is premature to take a position as

24   to which briefing procedure is appropriate for any remaining disputes about Meta’s preservation of ESI,
25   as there is not currently any dispute ripe for judicial intervention.
26
            To the extent the parties reach impasse on preservation, Meta believes it is likely that such
27
     disputes should be resolved through a formal, noticed motion under Civil L.R. 7, so that Meta has the
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                                                         -2-
                                               JOINT STATEMENT
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           Case 3:22-cv-03580-WHO Document 264 Filed 06/01/23 Page 3 of 6


1    time and space to fully respond to Plaintiffs’ arguments, and to explain to the Court how Meta’s systems
2    work. The expedited discovery dispute resolution procedure limits parties’ position statements to 1,500
3
     words, and it requires the parties to submit dispute letters “no later than 5 court days” after the lead
4
     counsel conference (absent agreement). These limitations likely will not allow Meta to present the
5
     nuanced information necessary to resolve disputes regarding Meta’s preservation of ESI, particularly
6

7    given the scope and detail of the parties’ discussions to date. Accordingly, Meta believes that a formal

8    motion may be most efficient for this issue.

9            2.      If the parties’ remaining disputes about Meta’s preservation of ESI require
10
     consideration of highly technical issues bearing on the feasibility of preserving certain data or
11
     data sources maintained by Meta, the Court is inclined to appoint a technical expert as a special
12
     master to assist the Court and the parties in resolving such disputes. What are the parties’ views
13
     on whether the Court should appoint a special master for this purpose?
14

15           Joint Statement

16           The parties agree that appointment of a technical expert as a special master is not appropriate
17   at this time.
18
             Plaintiffs’ Additional Statement
19
             At this time, Plaintiffs are opposed to the appointment of a special master. Plaintiffs do not
20
     believe that Meta’s storage systems are likely to be particularly complicated. Nor do Plaintiffs believe
21

22   that Meta’s preservation of ESI is likely to require consideration of highly technical issues bearing on

23   the feasibility of preserving certain data or data sources maintained by Meta. There is no evidence that

24   there are feasibility issues bearing on Meta’s preservation.
25           Instead of a special master, what is needed is for Meta to produce the documents responsive to
26
     Plaintiffs’ RFP Nos. 5 to 7 (see Dkt. 247) and to answer Plaintiffs other informal and formal discovery
27
     requests for information about its systems.
28
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                                              JOINT STATEMENT
                                          CASE NO. 3:22-CV-03580-WHO
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1           Meta’s Additional Statement
2           Meta agrees that it is premature to appoint a technical special master to address preservation of
3
     ESI, including because the parties can make further progress through meet and confer efforts.
4
     Further, as Plaintiffs note, even if there are preservation disputes the parties are unable to resolve, such
5
     disputes may not involve highly technical issues, such that a special master with technical expertise
6

7    would be necessary. See, e.g., Burlington N. R. Co. v. Dep’t of Revenue of State of Wash., 934 F.2d

8    1064, 1072 (9th Cir. 1991) (“The use of masters … is restricted to situations where they are necessary

9    to aid judges in the performance of specific judicial duties, as they may arise in the progress of a
10
     cause . . . .” (internal citations and quotations omitted)). Further, even if the issues are technical, Meta
11
     has extensive experience explaining its technology in clear and comprehensive terms for parties not
12
     well versed in the technology.
13

14

15   Dated: June 1, 2023                            GIBSON, DUNN & CRUTCHER LLP
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18
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                                                    Facebook, Inc.)
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     Case 3:22-cv-03580-WHO Document 264 Filed 06/01/23 Page 5 of 6


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1                                  CIVIL L.R. 5-1(h)(3) ATTESTATION
2           Pursuant to Civil Local Rule 5-1(h)(3), I, Lauren Goldman, hereby attest under penalty of
3    perjury that concurrence in the filing of this document has been obtained from all signatories.
4

5    Dated: June 1, 2023                          By:         /s/ Lauren Goldman
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